       Case 3:21-cv-09599-SK Document 1 Filed 12/13/21 Page 1 of 10




1      CENTER FOR DISABILITY ACCESS
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7
8
                           UNITED STATES DISTRICT COURT
9                         NORTHERN DISTRICT OF CALIFORNIA
10
11     Andres Gomez,                              Case No.

12               Plaintiff,
                                                  Complaint for Damages and
13       v.                                       Injunctive Relief for Violations
                                                  of: American’s With Disabilities
14     Spanos-Berberian Winery, LLC, a            Act; Unruh Civil Rights Act
       California Limited Liability               NOT RELATING TO A
15
       Company, dba Bell Wine Cellars,            CONSTRUCTION-RELATED
16                                                BARRIER AS DEFINED IN CAL.
                 Defendant.                       CIV. CODE § 55.3
17
18
           Plaintiff Andres Gomez (“Plaintiff”) complains of Spanos-Berberian
19
     Winery, LLC, a California Limited Liability Company, dba Bell Wine Cellars
20
     (“Defendant”), and alleges as follows:
21
22
       PARTIES:
23
       1. Plaintiff is a visually-impaired individual and a member of a protected
24
     class of persons under the Americans with Disabilities Act. Plaintiff Talkback
25
     or similar software to navigate websites and applications on electronic devices.
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                                              1

     Complaint
         Case 3:21-cv-09599-SK Document 1 Filed 12/13/21 Page 2 of 10




1    Plaintiff is legally blind1 and cannot use an electronic device without
2    assistance of screen-reader software (“SRS”).
3        2. Defendant Spanos-Berberian Winery, LLC, a California Limited
4    Liability Company (“Spanos-Berberian Winery, LLC”) owned or operated Bell
5    Wine Cellars located in Napa County, California, in March 2021 and August
6    2021.
7        3. Defendant Spanos-Berberian Winery, LLC owns or operates Bell Wine
8    Cellars located in Napa County, California, currently.
9        4. Defendant Spanos-Berberian Winery, LLC owned or operated Bell
10   Wine Cellars website, with a root domain of: https://www.bellwine.com/, and
11   all related domains, sub-domains and/or content contained within it,
12   (“Website”) in March 2021 and August 2021.
13       5. Defendant Spanos-Berberian Winery, LLC owns or operates the Bell
14   Wine Cellars website currently.
15       6. Plaintiff does not know the true names of Defendants, their business
16   capacities, their ownership connection to the property and business, or their
17   relative responsibilities in causing the access violations herein complained of,
18   and alleges a joint venture and common enterprise by all such Defendants.
19   Plaintiff is informed and believes that each of the Defendants herein, is
20   responsible in some capacity for the events herein alleged or is a necessary
21   party for obtaining appropriate relief. Plaintiff will seek leave to amend when
22   the true names, capacities, connections, and responsibilities of the Defendants
23   are ascertained.
24
25
26   1
      Plaintiff uses the terms “visually-impaired” or “blind” interchangeably to
27   refer to individuals, including himself, who meet the legal definition of
28   blindness. (visual acuity of 20/200 or worse.) Some individuals who meet
     these criteria have no vision, others have limited vision.

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     Complaint
       Case 3:21-cv-09599-SK Document 1 Filed 12/13/21 Page 3 of 10




1    JURISDICTION & VENUE:
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3      7. The Court has subject matter jurisdiction over the action pursuant to 28
4    U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
5    Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. (“ADA”)
6      8. This court has supplemental jurisdiction over Plaintiff’s non-federal
7    claims pursuant to 28 U.S.C. § 1367 because Plaintiff’s Unruh claims are
8    formed from the same case and/or controversy and are related to Plaintiff’s
9    ADA claims. A violation of the ADA is a violation of Unruh. (Cal. Code §51(f).
10     9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b). Defendant
11   is subject to personal jurisdiction in this District due to its business contacts
12   with the District, and a substantial portion of the complained of conduct
13   occurred in this District.
14
15     FACTUAL ALLEGATIONS:
16
17     10. Plaintiff is a legally blind person and a member of a protected class
18   under the ADA. Plaintiff is proficient with and uses SRS to access the internet
19   and read internet content on computers and mobile devices.
20     11. Plaintiff cannot use a computer without the assistance of screen reader
21   software. (“SRS”).
22     12. Spanos-Berberian Winery, LLC operates privileges, goods or services
23   out of a physical location in California. These services are open to the public,
24   places of public accommodation, and business establishments.
25     13. The Website is a nexus between Spanos-Berberian Winery, LLC
26   customers and the terrestrial based privileges, goods or services offered by
27   Spanos-Berberian Winery, LLC.
28     14. Spanos-Berberian Winery, LLC offers websites and digital booking as


                                            3

     Complaint
       Case 3:21-cv-09599-SK Document 1 Filed 12/13/21 Page 4 of 10




1    some of the facilities, privileges, and advantages offered by Defendants to
2    patrons of the Spanos-Berberian Winery, LLC in connection with their
3    patronage at the Spanos-Berberian Winery, LLC.
4      15. Among the services offered include: details about the wine and the
5    Spanos-Berberian Winery, LLC itself, location and contact information;
6    Spanos-Berberian Winery, LLC policies; information about wine, deals and
7    promotions without any ambiguity as to the amenities that would be available
8    to the patron.
9      16. Plaintiff was a prospective customer who wished to access Defendant’s
10   goods and services of the Spanos-Berberian Winery, LLC.
11     17. Plaintiff visited the Website in March 2021 and August 2021 in search
12   of a winery/wine vineyard to potentially visit this location to purchase wine or
13   do some wine tasting or potentially make my own wine since we were in the
14   California area and potentially wanted to go to Northern California for this
15   experience since I have family who lives in Northern California.
16     18. When Plaintiff attempted to navigate the Website, Plaintiff encountered
17   numerous accessibility design faults that prevented him from navigating the
18   site successfully using SRS. Investigation into his experience revealed barriers,
19   including, but not limited to:
20                    a. Images on the website lack a text equivalent readable by
21                       SRS.
22                    b. The website contains form elements that are not identified
23                       with functional text readable by SRS.
24                    c. Images on the website lack a text equivalent readable by
25                       SRS.
26                    d. The visualization of the webpage contains impermissibly
27                       low contrast enabling differentiation of background and
28                       foreground elements.


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     Complaint
       Case 3:21-cv-09599-SK Document 1 Filed 12/13/21 Page 5 of 10




1      19. These inaccessible elements rendered the ostensibly “accessible”
2    elements inaccessible as a result of difficulty and confusion navigating the
3    numerous inaccessible elements.
4      20. Currently, the defendants either fail to provide an accessible website or
5    Defendants have failed to maintain in working and useable conditions those
6    website features required to provide ready access to persons with disabilities.
7      21. Despite multiple attempts to access the Website using Plaintiff’s
8    computer and mobile device, Plaintiff has been denied the full use and
9    enjoyment of the facilities, goods and services offered by Defendants as a
10   result of the accessibility barriers on the Website.
11     22. Plaintiff personally encountered accessibility barriers and has actual
12   knowledge of them.
13     23. By failing to provide an accessible website, the defendants denied
14   Plaintiff full and equal access to the facilities privileges or advantages offered
15   to their customers.
16     24. Plaintiff has been deterred from returning to the Website as a result of
17   these prior experiences.
18     25. The failure to provide accessible facilities created difficulty and
19   discomfort for the Plaintiff.
20     26. If the website had been constructed equally accessible to all individuals,
21   Plaintiff would have been able to navigate the Website and find information on
22   wine.
23     27. Additionally, Plaintiff is a tester in this litigation and seeks future
24   compliance with all federal and state laws. Plaintiff will return to the Website
25   to avail himself of its goods and/or services and to determine compliance with
26   the disability access laws once it is represented to him that the Spanos-
27   Berberian Winery, LLC and Website are accessible.
28     28. Plaintiff is currently deterred from doing so because of Plaintiff’s


                                             5

     Complaint
       Case 3:21-cv-09599-SK Document 1 Filed 12/13/21 Page 6 of 10




1    knowledge of the existing barriers and uncertainty about the existence of yet
2    other barriers on the Website. If the barriers are not removed, Plaintiff will
3    face unlawful and discriminatory barriers again.
4      29. The barriers identified above violate easily accessible, well-established
5    industry standard guidelines for making websites accessible to people with
6    visual-impairments that use SRS to access websites. Given the prevalence of
7    websites that have implemented these standards and created accessible
8    websites, it is readily achievable to construct an accessible website without
9    undue burden on the Spanos-Berberian Winery, LLC or a fundamental
10   alteration of the purpose of the Website.
11     30. Compliance with W3C Web Content Accessibility Guidelines
12   (“WCAG”) 2.0 AA standards are a viable remedy for these deficiencies and a
13   standard that has been adopted by California courts for website accessibility.
14     31. It’s been established that failure to remove these inaccessible conditions
15   violates the ADA and California law and requiring compliance with industry
16   access standards is a remedy available to the plaintiff.
17     32. The Website was intentionally designed, and based on information and
18   belief, it is the Defendants’, policy and practice to deny Plaintiff access to the
19   Website, and as a result, denies the goods and services that are otherwise
20   available to patrons of the Spanos-Berberian Winery, LLC.
21     33. Due to the failure to construct and operate the website in line with
22   industry standards, Plaintiff has been denied equal access to Defendant’s
23   Spanos-Berberian Winery, LLC and the various goods, services, privileges,
24   opportunities and benefits offered to the public by the Spanos-Berberian
25   Winery, LLC.
26     34. Given the nature of the barriers and violations alleged herein, the
27   plaintiff alleges, on information and belief, that there are other violations and
28   barriers on the website, and/or at the Spanos-Berberian Winery, LLC that


                                             6

     Complaint
       Case 3:21-cv-09599-SK Document 1 Filed 12/13/21 Page 7 of 10




1    relate to his disability. In addition to the barriers he personally encountered,
2    Plaintiff intends to seek removal of all barriers on the Website that relate to his
3    disability. See Doran v. 7-Eleven (9th Cir. 2008) 524 F.3d 1034 (holding that
4    once a plaintiff encounters one barrier, they can sue to have all barriers that
5    relate to their disability removed regardless of whether they personally
6    encountered the barrier).
7      35. Plaintiff will amend the complaint, to provide further notice regarding
8    the scope of the additional demanded remediation in the event additional
9    barriers are uncovered through discovery. However, please be on notice that
10   the plaintiff seeks to have all barriers related to his disability remedied.
11
12
13   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
14   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
15   Defendants.) (42 U.S.C. section 12101, et seq.)
16     36. Plaintiff re-pleads and incorporates by reference, as if fully set forth
17   again herein, the allegations contained in all prior paragraphs of this
18   complaint. Spanos-Berberian Winery, LLC is a public accommodation with
19   the definition of Title III of the ADA, 42 USC § 12181.
20     37. The website provided by the Defendant is a service, privilege or
21   advantage and extension of Spanos-Berberian Winery, LLC physical presence
22   and terrestrial services.
23     38. When a business provides services such as a website, it must provide an
24   accessible website.
25     39. Here, an accessible website has not been provided. A failure to provide
26   an accessible website is unlawful discrimination against persons with
27   disabilities.
28     40. Under the ADA, it is an act of discrimination to fail to ensure that the


                                              7

     Complaint
       Case 3:21-cv-09599-SK Document 1 Filed 12/13/21 Page 8 of 10




1    privileges, advantages, accommodations, facilities, goods and services of any
2    place of public accommodation is offered on a full and equal basis by anyone
3    who owns, leases, or operates a place of public accommodation. See: 42 U.S.C.
4    § 12182(a). Discrimination is defined, inter alia, as follows: “A failure to make
5    reasonable modifications in policies, practices, or procedures, when such
6    modifications are necessary to afford goods, services, facilities, privileges,
7    advantages, or accommodations to individuals with disabilities, unless the
8    accommodation would work a fundamental alteration of those services and
9    facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).”
10     41. Here, the failure to ensure that the accessible facilities were available
11   and ready to be used by the plaintiff is a violation of the law.
12     42. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights
13   set forth and incorporated therein, Plaintiff requests relief as set forth below.
14
15
16   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
17   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
18   Code § 51-53.)
19     43. Plaintiff repleads and incorporates by reference, as if fully set forth
20   again herein, the allegations contained in all prior paragraphs of this
21   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
22   that persons with disabilities are entitled to full and equal accommodations,
23   advantages, facilities, privileges, or services in all business establishment of
24   every kind whatsoever within the jurisdiction of the State of California. Cal.
25   Civ. Code §51(b).
26     44. The Unruh Act provides that a violation of the ADA is a violation of the
27   Unruh Act. Cal. Civ. Code § 51(f).
28     45. Defendants’ acts and omissions, as herein alleged, have violated the


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     Complaint
          Case 3:21-cv-09599-SK Document 1 Filed 12/13/21 Page 9 of 10




1    Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
2    rights to full and equal use of the accommodations, advantages, facilities,
3    privileges, or services offered.
4         46. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
5    discomfort or embarrassment for the plaintiff, the defendants are also each
6    responsible for statutory damages, i.e., a civil penalty. Cal. Civ. Code §
7    55.56(a)-(c).
8         47. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights
9    set forth and incorporated therein, Plaintiff requests relief as set forth below.
10
11            PRAYER:
12            Wherefore, Plaintiff prays that this Court award damages and provide
13   relief as follows:
14         1. A Declaratory Judgment that at the commencement of this action
15   Defendants were in violation of the requirements of the ADA due to
16   Defendants’ failures to take action to ensure that its website was fully
17   accessible to and independently usable by blind and visually-impaired
18   individuals.
19         2. For equitable nominal damages for violation of civil rights. See
20   Uzuegbunam v. Preczewski, 141 S.Ct. 792 (2021) and any other equitable
21   relief the Court finds appropriate.
22         3. Pursuant to 42 U.S.C § 12181, a preliminary and permanent injunction
23   enjoining Defendants from violating the ADA with respect to its website.
24         4. Damages under the Unruh Civil Rights Act § 512, which provides for
25   actual damages and a statutory minimum of $4,000 for each offense.
26
     2
27       Note: the plaintiff is not invoking section 55 of the California Civil Code and
28   is not seeking injunctive relief under the Disabled Persons Act at all.


                                               9

     Complaint
       Case 3:21-cv-09599-SK Document 1 Filed 12/13/21 Page 10 of 10




1       5. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
2    to 42 U.S.C. § 12205; and Cal. Civ. Code § 52.
3
4
     Dated: December 13, 2021               CENTER FOR DISABILITY ACCESS
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6
7
                                           By: ______________________________
8
                                           Amanda Seabock, Esq.
9                                          Attorney for Plaintiff
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     Complaint
